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§AO 440 (Rev. 8/Ol) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

Northern Dismct Of New York

 

Asbestos Workers Syracuse
Pension Fund

SUMMONS IN A CIVIL ACTION

Delores A. Wells

CASENUMBER: 5 04 _C\/..l 825
@L‘§$ re E“”

TOZ (Name and address of Defendant)

Delores A. Wells
207 Leavenworth Avenue
Syracuse, New York

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S A'l"l`ORNEY (nam¢ and address)

Bernard T. King

Blitman & King LLP'

443 North Franklin Street
Syracuse, New York 13204-1415

an answer to the complaint which is served on you with this summons, within 20 days after service

of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

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(By) r)r-:PUTY cLERK` \"

 

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AFFIDAVIT OF SERVICE Index No. 5:04-CV-825
C.N.Y PR()CESS SERVICE, INC. R.lI No.
Attorney: Blitman

UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF NEW YORK

 

ASBESTOS WORKERS SYRACUSE PENSION FUND,

Plaintiff (s)
-against-
DELORES A. WELLS,

Defendant (s)

 

State of New York , County ofOnondaga ss: The undersigned, being duly sworn deposes and states: deponent is
not a party herein, is over the age of 18 years and resides at___Liverpool, New York

That on_July 30, 2004 at 10:35 a.m. located at 207 Leavenworth Ave. Syracme, NY 13204
deponent served the within~Summons and Complaint, General Order #25;Case Management Plao; Case

Assignment/Motion Schedules and Filing Location; Consent Form to Proceed before U.S. Magistrate Jndge
on___DELORES A. WELLS~recipient therein named.

{H'JDIVIDUAL By delivering a true copy of each to said recipient personally; deponent knew the person
served to be the person described as said person therein.

l{MlLITARY SRVC Deponent asked the person spoken to whether the recipient was presently in the military
service of the United States Government of the State of New York and was informed
that recipient was not. Recipient wore ordinary civilian clothes and no military uniform

   

DESCRIPT!ON: Race_White Sex__female Height_$’$”_Weight_l 90_Age_ 5-55 Hair_blood Ot
featnre¢:__glassos

 

 

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